Case 15-58443-wlh      Doc 253     Filed 02/04/21 Entered 02/04/21 16:03:37            Desc Main
                                  Document      Page 1 of 39




  IT IS ORDERED as set forth below:



   Date: February 4, 2021
                                            _____________________________________
                                                       Wendy L. Hagenau
                                                  U.S. Bankruptcy Court Judge

_______________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE:
                                                              CASE NO. 15-58443-WLH
 NILHAN DEVELOPERS, LLC,
                                                              CHAPTER 11
          Debtor.

          ORDER ON FINAL APPLICATION FOR COMPENSATION FILED BY
                      MORRIS, MANNING & MARTIN, LLP

       THIS MATTER is before the Court on the Sixth and Final Application for Compensation

and Supplement to Final Fee Application (Case No. 15-58443 Doc. No. 233) (the “Application”)

filed by Morris, Manning & Martin, LLP, pursuant to which it seeks final approval of all fees paid

to it under the First through Fifth Applications in the amount of $390,622.28, together with an

additional $84,108.16 for fees withheld in the Fifth Application and fees sought in the Sixth and




                                                1
Case 15-58443-wlh           Doc 253       Filed 02/04/21 Entered 02/04/21 16:03:37                       Desc Main
                                         Document      Page 2 of 39



Final Application, for a total of $474,730.44. 1 On January 29, 2021, MMM filed a Supplemental

Response in Support of its Sixth and Final Fee Application (Case No. 15-58443 Doc. No. 250)

(“Supplemental Response”).

    I.   FACTS

         Nilhan Developers, LLC (“ND”), together with its affiliates, Bay Circle Properties, LLC

(“Bay Circle”), DCT Systems Group, LLC (“DCT”), Sugarloaf Centre, LLC (“Sugarloaf”), and

NRCT, LLC (“NRCT”) (collectively the “Debtors”), each filed a petition for relief under Chapter

11 of the Bankruptcy Code on May 4, 2015. On June 8, 2015, the Court administratively

consolidated the Debtors’ cases.            The manager of each of the Debtors is Chuck Thakkar.

Ownership in each debtor differs somewhat but, in general in each debtor, ownership is held by

some combination of Mr. Thakkar, his children Rohan and Niloy, his wife, and/or a company

which some combination of the Thakkar family owns.

         The immediate reason for filing bankruptcy was a default by the Debtors on a series of loan

agreements with Wells Fargo Bank, N.A. 2 Eleven days into the case, Wells Fargo filed a Motion

for the Appointment of a Chapter 11 Trustee (Case No. 15-58440 Doc. No. 12). After an

evidentiary hearing, the Court denied the request and appointed an examiner instead (Case No. 15-

58440 Doc. No. 134). The examiner served until November 30, 2016 and prepared several reports

regarding the Debtors, their cash management systems, and intercompany debts (Case No. 15-

58440 Docs. Nos. 157, 274, 304, and 414).

         The obligations to Wells Fargo were secured by certain real property owned by the Debtors

including real property owned by ND at 2800 and 2810 Spring Road, Smyrna, Georgia


1
  The Court entered an order on similar issues on MMM’s Final Application for Compensation in the Sugarloaf case
(Case No. 15-58442 Doc. No. 201).
2
  Wells Fargo Bank, N.A. began its association with the Debtors in 2008. The history is set out in several prior orders
issued by the Court, including the Order Denying Substantive Consolidation (Case No. 15-58440 Doc. No. 797).

                                                          2
Case 15-58443-wlh       Doc 253     Filed 02/04/21 Entered 02/04/21 16:03:37            Desc Main
                                   Document      Page 3 of 39



(collectively the “Property”) located in the general vicinity of the park where the Atlanta Braves

play. The first several months of these cases were devoted to the Debtors liquidating or refinancing

various pieces of property to meet milestone payment deadlines agreed to by Wells Fargo. As one

of the milestones approached, ND sought to sell the Property to Westplan Investors Acquisitions,

LLC (“Westplan”) and to remit the net sale proceeds to Bay Point (Case No. 15-58440 Doc. No.

634). The sale contract provided ND the right to buyback all or a portion of the Property upon the

occurrence of certain conditions. The Court authorized the sale of the Property to Westplan (Case

No. 15-58440 Doc. No. 679), which assigned the right to purchase the Property to Accent

Cumberland Apartments, LP (“Accent”) and the sale closed.

       Behind the scenes, these bankruptcy cases have been impacted and driven to a certain

extent by litigation between Mr. Thakkar and his family, on the one hand, and Good Gateway,

LLC and SEG Gateway, LLC (collectively “Gateway”), on the other.                Gateway obtained

judgments in the amounts of $2.5 million and $12 million against Mr. Thakkar and other non-

debtor entities in a Florida state court. Due to subsequent litigation, Gateway claims multiple

interests in the Debtors’ cases, including 50% of any recovery by Nilhan Financial, LLC (“Nilhan

Financial”), a creditor of the Debtors.

       Gateway filed claims in the cases, all of which were disallowed except the claim in Bay

Circle. Gateway also filed a Motion for Relief from Stay (Case No. 15-58440 Doc. No. 307) early

in the cases seeking to continue litigation in the Florida courts, which the Court denied (Case No.

15-58440 Doc. No. 380). The parties remain determined to litigate though, as evidenced by the

numerous cases filed in this Court, Florida, and elsewhere. In fact, Mr. Thakkar has testified that

he will continue to litigate with Gateway forever (see Transcript of Hearing on December 4, 2020,

Case No. 15-58440 Doc. No. 936 at 147 line 12 (Mr. Thakkar stated he intended to appeal “till I



                                                 3
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37             Desc Main
                                  Document      Page 4 of 39



die.”)). In these bankruptcy cases, there have been seven adversary proceedings and more appeals,

although not all are directly related to Gateway. Gateway has also continued its collection efforts

outside of bankruptcy, as detailed in the Court’s Order Denying Motion for Sanctions, entered on

November 9, 2020 (Case No. 15-58443 Doc. No. 206).

       On December 11, 2018, after notice and a hearing, the Court appointed a Chapter 11

Trustee in all five cases (Case No. 15-58440 Doc. No. 919). The appointment was triggered by

Mr. Thakkar’s actions, in this case described in detail below. In short, without notifying the Court

or his counsel and without Court approval, Mr. Thakkar, on behalf of ND, exercised the option to

re-acquire the Property for over $9 million and incurred unauthorized secured post-petition

financing in that amount from an insider (for over $5 million) and a third party. The Court

appointed Ronald L. Glass as Chapter 11 Trustee for all the Debtors (Case No. 15-58440 Doc. No.

922). Mr. Thakkar sought reconsideration of the order appointing a trustee (Case No. 15-58440

Doc. No. 947), which the Court considered at a hearing on February 7, 2019 and denied (Case No.

15-58440 Doc. No. 1248).

       The Trustee sought to retain Morris Manning and Martin, LLP (“MMM”) as his counsel.

Mr. Thakkar objected to the retention of MMM, and MMM filed a brief in support of the Trustee’s

application. The Court considered the Application to Retain MMM at a hearing on January 17,

2019, at which Mr. Thakkar voiced opposition to MMM’s retention since MMM had potentially

represented entities with interests adverse to Mr. Thakkar personally or other non-debtor entities.

The Court instructed Mr. Thakkar to provide MMM with a list of parties against which the firm

should check for conflicts. Mr. Thakkar failed to provide a list of entities as instructed, so MMM

researched other Thakkar entities, ran a conflicts check on over 100 entities, and filed a

supplemental brief and affidavit in support of its retention (Case No. 15-58440 Docs. Nos. 970 &



                                                 4
Case 15-58443-wlh       Doc 253     Filed 02/04/21 Entered 02/04/21 16:03:37              Desc Main
                                   Document      Page 5 of 39



971). The Court held a continued hearing on February 7, 2019, after which the Court approved

the retention of MMM (Case No. 15-58440 Doc. No. 976).

       At the initial status conference with the Trustee on December 18, 2018, the Court requested

the Trustee address several issues including: determining how to proceed with the Property and

the claims of the purported post-petition lenders, resolving pending litigation, and bringing these

cases to a final disposition. The Trustee reviewed the assets and liabilities of each debtor and filed

a Status Report on February 26, 2019 with his initial findings and questions (Case No. 15-58440

Doc. No. 983). After a failed attempt at mediating a global settlement of all issues, including those

involving Gateway, the Trustee moved forward in each case to bring matters to a posture to be

decided by the Court. At that point, the cases were all taking different paths to resolution and the

cases were severed on May 5, 2020 (Case No. 15-58440 Doc. No. 1420).

       A.    Facts Regarding ND

       ND’s schedules reflect it owned the Property, also known as Emerson Center, which

consisted of a shopping center and office suites. The Property was collateral for the Wells Fargo

obligations. Wells Fargo, the Debtors, and other non-debtor entities including Chuck, Niloy, and

Rohan Thakkar executed a Settlement Agreement on November 18, 2015 in which Wells Fargo

agreed to forbear from enforcing obligations and performance owed by ND and other loan parties

(the “Settlement Agreement”). The Settlement Agreement was amended on January 8, 2016 and

approved by the Court on January 13, 2016 (Case No. 15-58440 Doc. No. 302). The Settlement

Agreement required the full amount of the debt to Wells Fargo to be paid by April 30, 2017 and

set various deadlines for interim payments and release prices for the collateral. The release price

for the Property was $5.2 million. If Wells Fargo was not paid in full by April 30, 2017, it could

record deeds-in-lieu of foreclosure on the Property and property of the other obligors without



                                                  5
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37             Desc Main
                                  Document      Page 6 of 39



further hearing. After the Settlement Agreement was finalized and approved, Wells Fargo

assigned its interest and claim to Bay Point Capital Partners, L.P. (“Bay Point”).

       In April 2017, as the deadline to pay Wells Fargo neared, ND sought to sell the Property

to Westplan or its assignee for $7 million free and clear of all liens, claims and encumbrances, and

to remit the net sale proceeds to Bay Point (Case No. 15-58440 Doc. No. 634). ND and Westplan

had been in discussions going back to 2015 over joint development of the Property. The proposal

contemplated that ND would have the right to develop the retail, office and hotel portion of the

Property under certain circumstances while Westplan would develop the residential portion of the

Property. Paragraph 26 of the contract provided ND the right to buyback all or a portion of the

Property upon the occurrence of certain conditions, such as the failure of the City of Smyrna to

rezone the Property to allow for the planned development. Bay Point and Gateway objected to the

sale. Bay Point submitted a credit bid for the Property. At the Court’s direction, the parties

conducted an auction, which resulted in an offer from Westplan of $7.2 million otherwise in

accordance with the proposed contract and from Bay Point of $7.3 million otherwise in accordance

with the proposed Westplan contract, but without the repurchase option for the Property.

       The Court held an evidentiary hearing on the motion to sell at which Mr. Thakkar testified

to his desire for ND to retain the right to repurchase the property. The Court found that the buy-

back option could have significant value if the Property was rezoned to accommodate residential

and hotel use. The Court noted the option was clearly important to Mr. Thakkar, and ordered Mr.

Thakkar, or a non-debtor party on his behalf, to contribute $100,000 at the closing such that the

total proceeds paid to Bay Point would be $7,300,000, the amount of its credit bid. The Court

authorized the sale of the Property to Westplan (Case No. 15-58440 Doc. No. 679).




                                                 6
Case 15-58443-wlh      Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37            Desc Main
                                 Document      Page 7 of 39



       Westplan assigned the right to purchase the Property to Accent. The sale closed and Accent

applied for rezoning, but the rezoning request was denied. In a letter dated May 22, 2018, Accent

notified ND it had through August 20, 2018 to exercise the option to repurchase the Property for

the price of $9,269,212.32 calculated in accordance with the contract. ND did not have sufficient

funds to repurchase the Property at that time. ND’s Monthly Operating Reports show it had an

ending cash balance for the month of May 2018 of just $25,742.58 and an ending cash balance in

June and July 2018 of $24,983.58.

       Without notifying or consulting with ND’s bankruptcy counsel, ND sought financing to

exercise the repurchase option. Mr. Thakkar, as manager of ND, attempted to obtain financing

from various lenders, but was unable to do so. ND ultimately succeeded in obtaining a loan from

Rass Associates, LLC (“Rass”) and executed a promissory note in the principal amount of

$4,100,000 on August 20, 2018. The note provided for interest at 15% and a maturity date of

December 18, 2018, only four months later. ND also executed a deed to secure debt in favor of

Rass on the Property that was recorded in the Cobb County, Georgia property records on August

20, 2018.

       ND was still short of funds. Mr. Thakkar turned to Norcross Hospitality, a company of

which he was manager and his children Niloy and Rohan are the majority owners. He arranged

for Norcross Hospitality to borrow $4,500,000 from Metro City Bank and then loan that money

plus an additional $616,212.32 to ND. On August 20, 2018, ND executed a promissory note to

Norcross Hospitality in the principal amount of $5,169,212.32. The Norcross Hospitality note

provided for interest at 12 percent and a maturity date of December 18, 2018. ND executed a deed

to secure debt in favor of Norcross Hospitality, but the deed was never recorded. On August 20,




                                               7
Case 15-58443-wlh      Doc 253     Filed 02/04/21 Entered 02/04/21 16:03:37            Desc Main
                                  Document      Page 8 of 39



2018, ND used the funds it obtained from Rass and Norcross Hospitality to repurchase the Property

from Accent for $9,269,212.32.

        ND never informed its counsel or the Court of its intent to borrow funds and exercise the

option, nor sought nor obtained approval from the Court, to incur the post-petition financing from

Rass or Norcross Hospitality or to purchase the Property. The Court learned the Property had been

repurchased by ND while reviewing Westplan’s Motion to Dismiss a complaint filed by ND

against Westplan and Accent alleging breach of contract. The Court issued an Order to Show

Cause (Case No. 15-58440 Doc. No. 894) on October 10, 2018 directing ND and its counsel to

appear and explain to the Court the circumstances of the alleged repurchase. ND, through counsel,

filed a response on October 25, 2018 stating that the Property had no equity and in order for any

value to be realized, zoning and development must occur. ND contended that such could not occur

in a bankruptcy case and proposed that the Property simply be transferred to Norcross Hospitality.

Alternatively, ND requested that the post-petition financing be approved (Case No. 15-58440 Doc.

No. 898). On November 11, 2018, ND filed a Motion Requesting Entry of Order (1) Transferring

or Assigning Real Property and Authorizing Assumption of Debt Obligations, or Alternatively,

(2) Authorizing Post-Petition Financing Pursuant to Section 364 of the Bankruptcy Code Nunc

Pro Tunc (Case No. 15-58440 Doc. No. 904). The Court did not immediately hear the motion;

instead, after notice and a hearing, it appointed a Chapter 11 Trustee (Case No. 15-58440 Doc. No.

919).

        B.   Second Sale of the Property

        The Chapter 11 Trustee sought to sell the Property (“Second Sale”). The Trustee engaged

CBRE, Inc. as real estate broker to market the Property, and CBRE received a dozen offers from

third parties interested in purchasing the Property. The Trustee determined the offer from



                                                8
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37           Desc Main
                                  Document      Page 9 of 39



Habersham Partners, LLC (“Habersham”) was the highest and best offer and executed an

agreement for purchase and sale of the Property to Habersham. The Trustee then sought approval

of bid procedures and of Habersham as the stalking horse (Case No. 15-58440 Doc. No. 1106).

The Trustee filed declarations in support of the bid procedures, and an amended motion (Case No.

15-58440 Doc. No. 1127) clarifying that he proposed to sell the Property free and clear of any

liens, claims, encumbrances and/or interests including those purportedly held by Norcross

Hospitality. Niloy and Rohan Thakkar objected to the motion to sell and sought dismissal of the

case for cause (Case No. 15-58440 Doc. No. 1123). The Court held a hearing on July 2, 2019, at

which it considered testimony from the Trustee and from John Haynes of CBRE. On July 3, 2019,

the Court approved the bid procedures and Habersham as the stalking horse bidder (Case No. 15-

58440 Doc. No. 1128).

       The order approving bid procedures also provided Rass could submit a bid for the Property

including a credit bid in an amount equal to the amount of Rass’s alleged claim against ND. To

better evaluate a bid from Rass, the Trustee sought discovery from Rass regarding its loan. The

Trustee filed a motion seeking a Rule 2004 exam of Rass and related documents (Case No. 15-

58440 Doc. No. 1135), which the Court granted on July 11, 2019 (Case No. 15-58440 Doc. No.

1138). The Trustee also issued subpoenas to Rass and its principals (Case No. 15-58440 Doc. No.

1139). Meanwhile, Norcross Hospitality sought discovery from Habersham regarding its financial

viability as a stalking horse (Case No. 15-58440 Doc. No. 1152), which the Trustee opposed (Case

No. 15-58440 Doc. No. 1153). The Court held a telephonic hearing on July 24, 2019 at which it

considered the various discovery requests and denied Norcross Hospitality’s request for discovery

from Habersham (Case No. 15-58440 Doc. No. 1155). Mr. Thakkar (Case No. 15-58440 Doc. No.

1156) and Niloy and Rohan Thakkar (Case No. 15-58440 Docs. Nos. 1157 & 1170) then filed



                                               9
Case 15-58443-wlh      Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37             Desc Main
                                 Document     Page 10 of 39



renewed objections to the bid procedures and sale, and the Trustee filed additional declarations in

support of the sale (Case No. 15-58440 Docs. Nos. 1162 & 1163).

       The Trustee conducted an auction on July 31, 2019, and the Court held a hearing on the

sale motion on August 2, 2019. At the hearing, the objections by Rass, Niloy and Rohan Thakkar,

and Mr. Thakkar were withdrawn, and the Court approved the sale of the Property to Rass for

$12,795,000, including a credit bid in the amount of $4,100,000 (the principal amount of Rass’s

post-petition loan to ND) (Case No. 15-58440 Doc. No. 1171). The Chapter 11 Trustee received

net sales proceeds in the amount of $8,450,834.28. In order to facilitate the administration of the

estate, the Trustee filed a motion to approve a settlement with Westplan and Accent as well as the

Thakkars (Mr. Thakkar, Niloy Thakkar, Saloni Thakkar) and ND (Case No. 15-58440 Doc. No.

1176), pursuant to which the parties agreed to broad, reciprocal releases. The Court held a hearing

on the settlement motion on September 12, 2019. No objections were filed, and no parties

appeared to oppose the motion. Accordingly, the Court entered an order granting the motion to

approve settlement on September 13, 2019 (Case No. 15-58440 Doc. No. 1209).

       Rass filed a Motion for Allowance of Administrative Expense Claim for the interest on its

post-petition claim (Case No. 15-58440 Doc. No. 1180). The Court has approved a settlement

allowing Rass an administrative expense claim in the amount of $404,260 for interest accrued at

10 percent on the principal amount of $4,100,000 from August 20, 2018 through August 16, 2019

(Case No. 15-58440 Doc. No. 1416).

       Norcross Hospitality filed a motion seeking nunc pro tunc approval and administrative

expense treatment of the note executed by ND in favor of Norcross Hospitality, and the Court held

an evidentiary hearing on the Motion on June 23, 2020. The Court entered an order on July 31,

2020 (Case No. 15-58443 Doc. No. 158) in which it found the actions of ND and Norcross



                                                10
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37               Desc Main
                                  Document     Page 11 of 39



Hospitality did not justify the award of an administrative expense claim. Nevertheless, because

all creditors will be paid in full, the Court directed that Norcross Hospitality’s principal claim of

$5,169,212.32 be paid to the extent funds are available after all creditors are paid. The Court

entered its order on the claim of Norcross Hospitality on July 31, 2020, which it amended on

August 7, 2020.

       Well after the sale of the Property and resolution of Norcross Hospitality’s alleged claim

and the effective date of the plan, ND, through its interest holders Niloy and Rohan Thakkar, filed

a complaint on January 12, 2021 against the Trustee and Rass (Adv. Proc. No. 21-5008). ND

contends for the first time that title to the Property vested with ND, not the estate, and the sale to

Rass is not valid. The adversary proceeding remains pending.

       C.    Nilhan Financial Claims

       Nilhan Financial was an affiliate of the Debtors when the cases were filed, and ND’s

schedules reflected a debt to Nilhan Financial of $9.5 million. On March 20, 2017, an involuntary

bankruptcy petition was filed against Nilhan Financial in the United States Bankruptcy Court for

the Middle District of Florida. An order for relief was entered and on December 15, 2017, the case

was converted to Chapter 7, and a trustee was appointed for Nilhan Financial. On September 4,

2019, Norcross Hospitality, Niloy, and Rohan Thakkar filed a Motion for Order: 1) Amending

Schedules; or 2) In the Alternative, Requiring the Trustee to Amend Schedules as Necessary to

Reflect Status of Certain Scheduled Claims as Disputed and Subject to Offset (Case No. 15-58440

Doc. No. 1200). They argued the schedules of all Debtors, including ND, should be amended by

the Trustee to reflect different amounts due to Nilhan Financial. The motion asked the court to

order the Trustee to investigate the schedules and amend them.




                                                 11
Case 15-58443-wlh      Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37             Desc Main
                                 Document     Page 12 of 39



       After the mediation failed, Norcross Hospitality and Rohan and Niloy Thakkar collectively

filed an Objection to Scheduled Claims of Nilhan Financial, LLC in each of the ND and NRCT

cases seeking to disallow or reduce the scheduled claims of Nilhan Financial or, alternatively, to

require or permit the schedules to be amended to show the Nilhan Financial claims as disputed

(Case No. 15-58440 Doc. No. 1269). Norcross Hospitality and the Thakkars objected to the claim

on the basis that the $9,500,000 claim listed on the schedules was just an allocation of the Wells

Fargo debt actually owed by Nilhan Financial to Wells Fargo, and not debt owed by ND to Nilhan

Financial, and the claim was subject to reduction through set-off or recoupment or counterclaim,

particularly for the amount ND paid on the Wells Fargo debt owed by Nilhan Financial.

       The Trustee, Gateway, and the Chapter 7 Trustee for Nilhan Financial all responded (Case

No. 15-58440 Docs. Nos. 1294, 1295, & 1296) and opposed the motion to amend and objection.

The Court held an evidentiary hearing on February 4, 2020. The Court found ND owed $9,500,000

to Nilhan Financial at the time the bankruptcy case was filed but, whether called setoff or

recoupment, ND paid funds to Wells Fargo to satisfy Nilhan Financial’ s primary obligation to

Wells Fargo. The Court requested the parties provide the specific amount paid by ND to Bay Point

from the sale of the Property during the case. On March 26, 2020, the Trustee filed a notice and

supporting documentation showing ND paid $7,200,000 to Bay Point (Case No. 15-58440 Doc.

No. 1359). The Court entered an Amended and Restated Order on April 3, 2020, in which it

allowed Nilhan Financial a claim in this case in the amount of $9,500,000 less the $7,200,000 paid

on the Wells Fargo debt on account of the sale of the Property (Case No. 15-58440 Doc. No. 1365).

The claims of Nilhan Financial in the amount of $83,672 and $15,434.07, to which no objections

were made, were also allowed.




                                               12
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37            Desc Main
                                  Document     Page 13 of 39



       D.    Plan and Dismissal

       At various points throughout the case, the Thakkars have sought to dismiss this and the

other Debtors’ cases. Mr. Thakkar, acting pro se as managing member of the Debtors, filed a

Motion to Dismiss (Case No. 15-58440 Doc. No. 1060) on May 20, 2019. With the assistance of

counsel, he filed an Amended Motion to Dismiss on July 9, 2019 (Case No. 15-58440 Doc. No.

1134), which adopted and amended his previous motion to dismiss. Niloy and Rohan Thakkar

also sought dismissal of the case while the Trustee was seeking to sell the Property (Case No. 15-

58440 Doc. No. 1123). On July 29, 2019, the Trustee filed a response in opposition to the requests

for dismissal (Case No. 15-58440 Doc. No. 1160), arguing the proposals to dismiss the cases upon

paying some but not all claims constituted an impermissible structured dismissal. Gateway and

the Nilhan Financial Trustee joined in opposing dismissal of the case (Case No. 15-58440 Docs.

Nos. 1167 & 1168).

       Before the Court heard the requests for dismissal, the Trustee filed a Motion for Order

Directing Mediation (Case No. 15-58440 Doc. No. 1193, amended at Doc. No. 1194). No one

objected, and the Court authorized and directed mediation and appointed retired Bankruptcy Judge

Mary Grace Diehl as mediator (Case No. 15-58440 Doc. No. 1201). The Trustee and his counsel,

among others, attended the mediation on October 24 and 25, 2019, which then continued

telephonically for several days thereafter.

       After the mediation concluded with no agreement, the Court scheduled a hearing for

January 16, 2020 to consider the Thakkars’s prior requests for dismissal. Prior to the hearing, the

Trustee, Gateway, and the Nilhan Financial Trustee filed supplemental responses in opposition to

dismissal (Case No. 15-58440 Docs. Nos. 1280, 1283 & 1284). The Court determined dismissal

was not appropriate and the issues regarding both Norcross Hospitality and the Nilhan Financial



                                                13
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37             Desc Main
                                  Document     Page 14 of 39



claims had to be resolved. The Court scheduled an evidentiary hearing to consider the objection

to Nilhan Financial’ s claims and directed the Trustee to propose a plan to bring the case to a

resolution.

         The Trustee filed a Chapter 11 Plan of Liquidation (Case No. 15-58440 Doc. No. 1317)

and Disclosure Statement (Case No. 15-58440 Doc. No. 1318) on February 18, 2020. The Court

held a hearing on the disclosure statement on March 24, 2020, after which the Court entered a

scheduling order directing any interested party, including the Chapter 11 Trustee and parties

holding equity interests, seeking to file an amended plan and disclosure statement to do so by April

9, 2020. The Trustee filed a First Amended Chapter 11 plan (Case No. 15-58440 Doc. No. 1373)

and disclosure statement (Case No. 15-58440 Doc. No. 1374) on April 9, 2020.

         On April 20, 2020, Mr. Thakkar filed a Motion Requesting Establishment Of Deadlines

and Dismissal of Bankruptcy Case (Case No. 15-58440 Doc. No. 1393), and requested the Court

shorten notice and schedule an expedited hearing on dismissal. The Trustee objected to both the

shortening of time and dismissal of the case (Case No. 15-58440 Docs. Nos. 1409 & 1412).

Gateway and the Nilhan Financial Trustee both joined in the Trustee’s opposition to dismissal

(Case No. 15-58440 Docs. Nos. 1414 & 1415). The Trustee filed a Second Amended Chapter 11

Plan (Case No. 15-58440 Doc. No. 1402) and disclosure statement (Case No. 15-58440 Doc. No.

1403).

         The Court held a hearing on April 30, 2020, after which it converted the Bay Circle case

and severed the remaining cases from joint administration (Case No. 15-58440 Doc. No. 1420).

The Court then set deadlines for the parties to object to the Norcross Hospitality claim and

scheduled an evidentiary hearing.




                                                14
Case 15-58443-wlh      Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37             Desc Main
                                 Document     Page 15 of 39



       On August 6, 2020, the Trustee filed a Third Amended Plan (Case No. 15-58443 Doc. No.

160) and accompanying disclosure statement (Case No. 15-58443 Doc. No. 161); the Trustee later

filed an exhibit to the disclosure statement on September 9, 2020 (Case No. 15-58443 Doc. No.

186). Norcross Hospitality objected to the disclosure statement (Case No. 15-58443 Doc. No.

185). The Court held a hearing on September 10, 2020 regarding the disclosure statement for the

Third Amended Plan.

       The Trustee filed a Fourth Amended Plan (Case No. 15-58443 Doc. No. 190) on September

22, 2020 that provided for payment in full of allowed administrative claims, allowed priority

claims, and administrative convenience unsecured claims. On September 25, 2020, the Court

entered an Order And Notice (I) Waiving Distribution Of A Disclosure Statement And Plan

Solicitation To Unimpaired Classes, (II) Establishing Deadline For Filing Objections To

Confirmation Of The Plan And (III) Setting A Hearing On Confirmation Of The Plan (Case No.

15-58443 Doc. No. 191). Norcross Hospitality filed an objection to the Fourth Amended Plan

(Case No. 15-58443 Doc. No. 204), to which the Chapter 7 Trustee for Nilhan Financial responded

(Case No. 15-58443 Doc. No. 205), and Norcross Hospitality replied (Case No. 15-58443 Doc.

No. 209). Meanwhile, the Trustee filed a declaration in support of plan confirmation (Case No.

15-58443 Doc. No. 207).

       The Court held a hearing on confirmation on November 11, 2020 at which counsel for the

Trustee argued in support of confirmation and counsel for Norcross Hospitality reiterated its

objections that the plan was overly broad, that Nilhan Financial should not receive interest on its

claim, and the proposal to address tax withholdings due to the Georgia Department of Revenue

was poorly thought out. The Court agreed the plan needed to be amended to, among other things,

clarify the plan agent would only take certain actions when necessary and to set up a process to



                                                15
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37            Desc Main
                                  Document     Page 16 of 39



resolve the estate’s potential Georgia tax liability. The Court instructed the Trustee to amend the

plan by December 3, 2020.

       The Trustee filed a Fifth Amended Chapter 11 Plan (Case No. 15-58443 Doc. No. 220) on

December 2, 2020. After reviewing the amended version, the Court communicated with counsel

for the Trustee and counsel for Norcross Hospitality on December 4, 2020 about additional

necessary changes, including explaining the procedure for resolution of claims potentially owed

to the Georgia Department of Revenue. The Trustee filed a Sixth Amended Chapter 11 Plan (Case

No. 15-58443 Doc. No. 225) incorporating the requested changes on December 8, 2020. The Court

confirmed the Sixth Amended Plan on December 8, 2020 (Case No. 15-58443 Doc. No. 227). The

plan became effective on December 23, 2020. The plan provided for immediate payment to certain

creditors, and alternative means of distribution to Nilhan Financial and Norcross Hospitality

depending on the outcome of Norcross Hospitality’s appeal of this Court’s order. The plan also

provided for the release of the Trustee and MMM for actions that pre-dated the effective date.

       E.    Fee Applications

       MMM filed five interim fee applications. The Second, Third, and Fourth applications were

unopposed. All five were granted by the Court, though the Court only approved 90% of the fees

sought in the Fifth Application and reserved the remaining 10% for further consideration upon

final application. To date, counsel has been paid fees in the amount of $390,622.28. In its Sixth

and Final Fee Application and Supplement, MMM seeks allowance and payment of an additional

$84,108.16 in fees (including the amount withheld from the Fifth Interim Fee Application), for a

total of $474,730.44.

       MMM filed its First Interim Fee Application (Case No. 15-58440 Doc. No. 1023) on April

19, 2019 for fees and expenses incurred from December 11, 2018 through March 31, 2019.



                                                16
Case 15-58443-wlh      Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37             Desc Main
                                 Document     Page 17 of 39



Counsel not only sought compensation for work done in each of the individual bankruptcy cases,

but it also sought fees and expenses for “general” work done on behalf of all the Debtors, which it

divided by all five Debtors. The First Interim Fee Application included fees and expenses incurred

at the outset of the case reviewing the docket and the various schedules, examiner’s reports,

relationships among the Debtors and other entities, reviewing monthly operating reports for the

Debtors, and attending status conferences. MMM also spent time preparing the motions to retain

MMM and GlassRatner Advisory & Capital Group, LLC (“GlassRatner”) as financial advisor,

including conducting an extensive conflicts check, and their initial fee applications as well as

responding to Mr. Thakkar’s motion to reconsider appointing a trustee and Thakkar’s objection to

MMM’s retention. In the ND case, counsel worked on matters regarding a potential sale of the

Property, investigated the Rass and Norcross Hospitality claims and transfer of property, and

reviewed the Westplan litigation, including the retention of counsel and issues regarding

abandonment of claims.

       Mr. Thakkar, as managing member of ND, filed an objection (Case No. 15-58440 Doc. No.

1044). He also filed a motion to continue the hearing on the interim fee application (Case No. 15-

58440 Doc. No. 1058), stating he believed the fees were excessive and for services beyond the

scope of what was required. The Trustee responded that Mr. Thakkar did not have standing to

object to MMM’s fees and it was Mr. Thakkar’s conduct that caused the Trustee to incur additional

fees and expenses (Case No. 15-58440 Doc. No. 1071). The Court held a hearing on May 30,

2019, after which it authorized the Trustee to pay MMM a total of $51,509.02, consisting of

$15,730.50 for fees specific to ND plus $14,566.52 for its allocable share of general fees and

expenses incurred by all the Debtors (Case No. 15-58440 Doc. No. 1083).




                                                17
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37             Desc Main
                                  Document     Page 18 of 39



       MMM filed its Second Interim Fee Application (Case No. 15-58440 Doc. No. 1173) on

August 9, 2019 seeking fees and expenses incurred from April 1, 2019 through August 2, 2019.

The Second Interim Fee Application covered work in the ND case including reviewing post-

petition financing documents in favor of Rass and Norcross Hospitality and conducting discovery

about the same; reviewing potential offers for the Property, drafting bid procedures, reviewing

bids and the purchase and sale agreement with Habersham, preparing for and conducting an

auction, and preparing for and attending hearings regarding the bid procedures and sale;

considering and responding to proposals from equity and Mr. Thakkar regarding purchasing the

Property and dismissal; and initial conversations regarding the Nilhan Financial claims. The

“general” category applicable to multiple Debtors included fees for preparing and revising

MMM’s and GlassRatner’s fee applications, reviewing and responding to Mr. Thakkar’s motion

to dismiss, and consultations about Nilhan Financial’s claims in the various cases. No objections

were filed, and the Court approved the Second Interim Fee Application and authorized the Trustee

to pay MMM a total of $146,932.65, consisting of $131,566.50 for fees specific to ND plus

$15,366.15 for general fees and expenses incurred by all the Debtors split 1/3 between Sugarloaf,

ND, and NRCT (Case No. 15-58440 Doc. No. 1198).

       MMM filed its Third Interim Fee Application (Case No. 15-58440 Doc. No. 1268) on

November 20, 2019 seeking fees and expenses for the period August 3, 2019 through October 31,

2019, including fees and expenses related to preparing for and attending the mediation and further

discussions regarding Gateway’s interests and Nilhan Financial’s claims. The application covered

finalizing documents necessary to close the sale of the Property to Rass, settlement of the Westplan

adversary proceeding, research regarding tax liability from the Second Sale, reviewing and

responding to Rass and Norcross Hospitality’s motions for administrative expense claims, and



                                                18
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37              Desc Main
                                  Document     Page 19 of 39



analysis of Gateway charging orders and the related requests for sanctions. No objections were

filed, and the Court granted the request for $29,164.00 in fees specific to ND and $23,176.78 for

1/3 of the general fees and expenses incurred by all Debtors (split between Sugarloaf, ND, and

NRCT), for a total of $52,340.78 (Case No. 15-58440 Doc. No. 1272).

       MMM filed its Fourth Interim Fee Application (Case No. 15-58440 Doc. No. 1349) on

March 23, 2020 seeking $20,194.00 for fees incurred in the ND case, $21,087.67 for 1/3 of the

general fees (split between Sugarloaf, NRCT, and ND), and $17,655.50 for 1/2 of the fees related

to resolution of Nilhan Financial’s claims (split between NRCT and ND), for a total of $58,937.17,

covering the period of November 1, 2019 through February 29, 2020. The Fourth Interim Fee

Application covered the period after the mediation concluded without a settlement and the Trustee

and his counsel considered possible ways to resolve the Nilhan Financial and Norcross Hospitality

claims and, ultimately, the case.     Counsel spent time responding to the motion to require

amendment of the schedules and the motion to temporarily allow the Nilhan Financial claims, and

significant research on subrogation, setoff, and other theories to reduce the Nilhan Financial claim.

No objections were filed, and the Court entered an order approving the fees on April 14, 2020

(Case No. 15-58440 Doc. No. 1380).

       MMM filed its Fifth Interim Fee Application (Case No. 15-58443 Doc. No. 156) on July

21, 2020 seeking $98,502.00 for fees incurred in the ND case, $11,537.48 for 1/3 of the general

fees and expenses (split between Sugarloaf, NRCT, and ND), and $3,421.25 for 1/2 of the fees

related to resolution of Nilhan Financial’s claims (split between NRCT and ND), for a total of

$113,460.73 covering the period March 1, 2020 through July 16, 2020. The Fifth Interim Fee

Application included fees incurred in the plan process and responding to motions to dismiss, time

settling Rass’s claim, and preparation for and conduct of the evidentiary hearing regarding



                                                 19
Case 15-58443-wlh            Doc 253      Filed 02/04/21 Entered 02/04/21 16:03:37                         Desc Main
                                         Document     Page 20 of 39



Norcross Hospitality’s claim followed by supplemental briefing. Mr. Thakkar filed an objection

on August 11, 2020 (Case No. 15-58443 Doc. No. 166), which he amended on August 12, 2020

(Case No. 15-58443 Doc. No. 168). The Court held a hearing on August 13, 2020, after which it

awarded MMM 90% of its requested fees and 100% of expenses for $102,114.66 and reserved

10% for consideration with a final application (Case No. 15-58443 Doc. No. 170).

         MMM filed its Sixth and Final Application for Fees on August 26, 2020 (Case No. 15-

58443 Doc. No. 233) seeking $76,218.18 through December 23, 2020. The Sixth Fee Application

sought fees revising and presenting the Trustee’s Chapter 11 plan and disclosure statement, and

addressing the objections thereto, which ultimately led to plan confirmation; reviewing the appeal

of the Norcross Hospitality claim order and filing appellate briefs; and preparing the final fee

applications. MMM also sought the $11,346.07 deferred from the Fifth Interim Fee Application.

The “Debtor” objected (Case No. 15-58443 Doc. No. 245). The Court held a hearing on the

Application on January 21, 2021 at which counsel for MMM (Frank DeBorde and Lisa Wolgast),

counsel for the “Debtor” (John Moffa), 3 counsel for Gateway (Clay Townsend), and counsel for

the United States Trustee (David Weidenbaum) appeared telephonically.




3
  John Moffa, who filed the objection to the Sixth and Final Fee Application, is at least the sixth attorney to appear in
these cases for ND, its manager Chuck Thakkar, and its equity holders Rohan and Niloy Thakkar. He filed a pro hac
vice application in this case to represent Rohan and Niloy Thakkar. His application was granted on June 26, 2020
(Case No. 15-58443 Doc. No. 145). Notwithstanding that his pro hac application was only to represent Rohan and
Niloy Thakkar, he has filed pleadings on behalf of Norcross Hospitality and now apparently on behalf of the
“Debtor.” With each new counsel comes a rehashing of matters already resolved consistent with Mr. Thakkar’s prior
testimony that he will litigate until he dies. The cases were filed by John Christy as counsel for ND. He withdrew on
June 18, 2018. Richard Robbins appeared in the case for Chuck Thakkar, Niloy and Rohan Thakkar, and other non-
debtor Thakkar controlled entities and as special litigation counsel to the Debtors in June 2015. He withdrew as
counsel on May 8, 2019. Denise Dotson was retained as special litigation counsel for the Debtors in Jan 2018 then
appeared on behalf of ND and other related debtors as general counsel on June 12, 2018. She never formerly withdrew,
but after the appointment of a trustee, she then represented Chuck Thakkar individually. Ian Falcon appeared for
Chuck Thakkar individually on February 4, 2019, but he withdrew on February 11, 2019. Henry Sewell appeared in
the cases first on May 23, 2019 for Niloy Inc. and subsequently appeared on behalf of Niloy and Rohan Thakkar and
Norcross Hospitality.

                                                          20
Case 15-58443-wlh        Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37               Desc Main
                                   Document     Page 21 of 39



         F.   Summary of Objections

         Mr. Thakkar objected to MMM’s Fifth Interim Fee Application, and the “Debtor” objected

to the Sixth and Final Fee Application. The Court categorizes the objections to the MMM

applications as follows:

         1. Time spent on the Second Sale of the Property is not compensable because the
            Property was not property of the estate.
         2. Time spent investigating and litigating the Norcross Hospitality claim was not
            for the benefit of the estate because the Property was not property of the estate.
         3. Time spent defending the Nilhan Financial claim was not for the benefit of the
            estate and excessive.
         4. The filing of a plan and disclosure statement was unnecessary, as the case
            should have converted to a Chapter 7 case, and the time spent was excessive.
         5. MMM cannot be paid for the time it spent preparing the Trustee’s and
            GlassRatner’s fee applications.

         As MMM points out in its Supplemental Response, the Thakkars and ND agreed to settle

various claims with the Trustee and the Westplan parties in exchange for broad, reciprocal releases

(Case No. 15-58440 Doc. No. 1176). The agreement, which was entered into and signed by Niloy

Thakkar, Saloni Thakkar, and Mr. Thakkar on behalf of ND, provided:

         Further, the [Thakkars] agree that they shall not object, and hereby waive and
         relinquish any rights for making any objection, to any application for compensation of
         reasonable fees or expenses made by or on behalf of the Trustee or any professionals
         of the Trustee for work performed in the Bankruptcy Case.

(Case No. 15-58440 Doc. No. 1176). The Court entered an order granting the motion to approve

settlement on September 13, 2019 (Case No. 15-58440 Doc. No. 1209). Pursuant to the settlement

agreement approved by the Court, the Thakkars agreed to waive the very objections they now

bring.

         Nevertheless, the Court has an independent duty to investigate the reasonableness of

compensation even in the absence of any objection voiced by a party in interest. In re Sarkis

Investments Co., LLC, 2019 WL 9243005, *10 (Bankr. C.D. Cal. Sept. 5, 2019). Further, interim

fee awards under section 331 are not final and are subject to further consideration at the conclusion

                                                  21
Case 15-58443-wlh      Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37             Desc Main
                                 Document     Page 22 of 39



of the case. In re Marshall, 2010 WL 3959612, *3 (Bankr. E.D. Va. Oct. 11, 2010). Accordingly,

the Court will address each contention.

 II.   LAW ON FEE APPLICATIONS

       “Reasonable” compensation for trustees and their attorneys is permitted under 11 U.S.C.

§ 330 for “actual, necessary services rendered by the trustee” or his attorney.        11 U.S.C.

§ 330(a)(1)(A). The burden is on the attorney seeking compensation to prove the requested

compensation is reasonable. See In re Dabney, 417 B.R. 826, 834 (Bankr. N.D. Ga. 2009).

Reasonableness is determined by applying a lodestar analysis, looking at the hours reasonably

spent and the reasonable hourly charge. See Norman v. Hous. Auth. of the City of Montgomery,

836 F.2d 1292, 1299 (11th Cir. 1988). To determine whether the hourly rates and number of hours

expended are reasonable, the Court must take into account all relevant factors, including those

specified in section 330. The statute provides that courts should consider the following:

       (A) the time spent on such services;
       (B) the rates charged for such services;
       (C) whether the services were necessary to the administration of, or beneficial at
       the time at which the service was rendered toward the completion of, a case under
       this title;
       (D) whether the services were performed within a reasonable amount of time
       commensurate with the complexity, importance, and nature of the problem, issue,
       or task addressed;
       (E) with respect to a professional person, whether the person is board certified or
       otherwise has demonstrated skill and experience in the bankruptcy field; and
       (F) whether the compensation is reasonable based on the customary compensation
       charged by comparably skilled practitioners in cases other than cases under this
       title.

11 U.S.C. § 330(a)(3). Bankruptcy courts “must also consider whether the bankruptcy assets were

administered as economically as possible and whether any of the services rendered were

duplicative or non-legal.” Grant v. George Schumann Tire & Battery Co., 908 F.2d 874, 878 (11th

Cir. 1990).



                                                22
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37              Desc Main
                                  Document     Page 23 of 39



       The size of a fee request may invite a close review, but size alone is not grounds to disallow

a fee. Marshall, 2010 WL 3959612, at *63. Instead, the court must consider fees in the context

of the tasks undertaken and whether they are reasonable and necessary, looking at the nature of

the problems faced, the work done to address them, and any opposition or cooperation the trustee

received. The leading case with regard to the factors to be considered in determining a reasonable

allowance of compensation for attorneys is Johnson v. Ga. Highway Express, Inc., 488 F.2d 714

(5th Cir. 1974), in which the court considered the following twelve factors:

       (1) the time and labor required;
       (2) the novelty and difficulty of the questions presented by the case;
       (3) the skill requisite to perform the legal service properly;
       (4) the preclusion of other employment by the attorney due to acceptance of a case;
       (5) the customary fee for similar work in the community;
       (6) whether the fee is fixed or contingent;
       (7) time pressures imposed by the client or the circumstances;
       (8) the amount involved and results obtained as a result of the attorneys’ services;
       (9) the experience, reputation and ability of the attorneys;
       (10) the desirability of the case;
       (11) the nature and length of the professional relationship with the client; and
       (12) awards in similar cases.

Id. at 717-719. Each Johnson factor must be considered in light of the other factors. Neville v.

Eufaula Bank & Tr. Co. (In re U.S. Golf Corp.), 639 F.2d 1197, 1205 (5th Cir. 1981).

       In order to properly object to an application for compensation, the objecting party must

prove, with specific evidence, that the requested fees are unreasonable. See In re SGE Mortg.

Funding Corp., 301 B.R. 915, 917 (Bankr. M.D. Ga. 2003). A general objection to all fees and

expenses is not proper, and “[g]eneral dissatisfaction or a disagreement over business judgment

will not suffice” to support an objection to fees. Id.; see also In re Golf Augusta Pro Shops, Inc.,

2004 WL 768576, *2 (Bankr. S.D. Ga. Feb 6, 2004) (overruling objection that generally

complained that certain tasks were not necessary and applicant spent too much time on them

without providing specific details).

                                                23
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37               Desc Main
                                  Document     Page 24 of 39



       Additionally, section 330(a)(4)(A) provides that a court should not award compensation

for certain services. The section states:

       Except as provided in subparagraph (B), the court shall not allow compensation
       for—
              (i) unnecessary duplication of services; or
              (ii) services that were not—
                       (I)     reasonably likely to benefit the debtor’s estate; or
                       (II)    necessary to the administration of the case.


11 U.S.C. § 330(a)(4)(A). Examples of services that do not benefit the estate are work performed

on non-bankruptcy matters, services rendered to benefit the debtor personally, and services that

were actually in opposition to the estate’s administration. See In re Watervliet Paper Co., 109 B.R.

733, 735 (Bankr. W.D. Mich. 1989).

       But legal services may be “reasonably likely” to benefit a Chapter 11 estate even if no plan

of reorganization is proposed or confirmed. In re Macco Props., Inc., 540 B.R. 793, 868 (Bankr.

W.D. Okla. 2015). “Benefit to the estate . . . is not restricted to success measured by confirmation

of a plan or the prospect of confirming a plan.” In re Kitts Dev., LLC, 474 B.R. 712, 721 (Bankr.

D.N.M. 2012). A professional does not have to be 100 percent successful. In re Cenargo Int’l,

PLC, 294 B.R. 571, 596 (Bankr. S.D.N.Y. 2003). The question is whether a reasonable trustee or

his professional would have believed a particular service would benefit the estate. Id. at 595–96.

For example, counsel’s advice and services may benefit the estate “by maximizing value for

creditors through an orderly or emergency liquidation of assets by Section 363 sales.” Kitts Dev.,

474 B.R. at 721. Moreover, “[t]he appropriate time for measuring benefit to the estate is as of the

time the services are provided, and not at the time the court ultimately reviews the fee application.”

Macco Props., 540 B.R. at 868 (quoting In re Schupbach Invs., LLC, 521 B.R. 449 (table) (B.A.P.

10th Cir. 2014)). Thus, “[c]ourts may allow compensation where counsel’s services promoted the



                                                 24
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37              Desc Main
                                  Document     Page 25 of 39



bankruptcy process and contributed to the administration of the estate, but did not otherwise

provide an economic benefit to the estate.” Id.

       “In addition, ‘[n]ecessary and actual fees are allowable in situations where the fees are

unavoidably incurred,’ such as responding to events not subject to counsel’s control, ‘even if they

are not of a benefit to the estate.’” Macco Props., 540 B.R. at 868 (quoting Van Cott, Bagley,

Cornwall & McCarthy v. B.R.&F., L.C. (In re Ricci Inv. Co.), 217 B.R. 901, 907 (D. Utah 1998)).

The amount of time reasonably necessary in a particular case depends in part on the vigor with

which opponents dispute the issues, and counsel cannot be expected to ignore objections made by

opposing parties. See Macco Props., 540 B.R. at 871. For example, courts often find services are

necessary, even if they do not ultimately benefit the estate, where there are many obstacles to

closing a sale and incurring fees is essentially unavoidable. See id. Counsel must also comply

with the direction of the court. Ricci Inv. Co., 217 B.R. at 906-07 (finding fees were necessarily

incurred where counsel had no choice but to respond to objections and go forward with the

scheduling order as mandated by the court).

III.   OBJECTIONS TO APPLICATIONS

       Although Mr. Thakkar and the “Debtor” raise numerous objections, no dispute exists as to

many of the factors the court must consider under section 330 and Johnson. There is no dispute

that the time claimed by MMM was actually spent, and the Court finds the time is accurately

recorded. There is no dispute as to the reasonableness of the rates, that the rates are customary, or

that MMM has the skill and experience to render the services. The Court finds the rates to be

reasonable and customary and MMM is skillful and experienced.

       The fees for counsel of a trustee are both fixed and contingent. On one hand, the amount

to be paid is fixed by an hourly rate; on the other hand, the fee has an element of contingency since



                                                  25
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37               Desc Main
                                  Document     Page 26 of 39



the amount a court will allow is uncertain as is the availability of assets to pay the allowed fees.

While MMM previously represented Mr. Glass in other unrelated matters, this prior representation

does not factor into the consideration of the nature and length of the professional relationship with

the client because prior representations may not be of Mr. Glass as a trustee and, even if they are,

he would be serving as a trustee of a different debtor. In this case, the objections are focused on

1) whether the services were necessary to the administration of or beneficial to the estate, and 2)

whether the services were performed within a reasonable amount of time commensurate with the

complexity, importance, and nature of the task.

       In reviewing the Applications, the Court is particularly aware that representing a Chapter

11 trustee is a unique and complex assignment. The Court notes a Chapter 11 trustee is only

appointed in certain circumstances. The appointment of a Chapter 11 trustee is an extraordinary

remedy and is the exception, rather than the rule. See In re Intercat, Inc., 247 B.R. 911, 920 (Bankr.

S.D. Ga. 2000). Once appointed, a Chapter 11 trustee’s duties run to the estate and not a specific

creditor. In re Vill. Concepts, Inc., 2019 WL 2252497, *4 (Bankr. E.D. Cal. May 17, 2019). The

trustee and counsel are thrown into a case they know nothing about. That is especially true here

since the cases were pending for over three years and the docket included over 900 entries by the

time the Trustee was appointed. Moreover, when a trustee is appointed in a Chapter 11 case, by

definition, something is awry in the case and the trustee is expected to act immediately to secure

assets and address the issues causing the appointment. Almost always, a trustee’s presence in a

Chapter 11 case is unwelcome by the debtor, and obtaining cooperation is typically more

challenging than if the attorney were representing the debtor. The Court must therefore consider

the situation in which MMM found itself as a result of the Court’s appointment of a trustee when

reviewing the applications.



                                                  26
Case 15-58443-wlh        Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37                Desc Main
                                   Document     Page 27 of 39



        A.      Time Spent on Second Sale of Property

        The “Debtor’s” primary objection is a new theory that the Property was not property of the

estate after its sale to Accent and the repurchase of the Property by ND did not result in it being

property of the estate. The “Debtor” has filed a complaint against the Trustee on this theory and

contends the Court must resolve the adversary proceeding before addressing the fees incurred in

connection with the Second Sale. The question for the Court is whether the fees related to the

Second Sale were necessary to the administration of the estate or beneficial to the estate at the time

at which the service was rendered. The Court must consider whether a reasonable trustee or his

professional would have believed a particular service would benefit the estate. The time for

measuring benefit is as of the time the services are provided, not the time the fee application is

reviewed. Macco Props., Inc., 540 B.R. at 868 (“[t]he appropriate time for measuring benefit to

the estate is as of the time the services are provided, and not at the time the court ultimately reviews

the fee application.” (quoting Schupbach Invs., LLC, 521 B.R. 449).

        Without deciding the adversary proceeding, at the time the Trustee and MMM proceeded

with the Second Sale of the Property, everyone in the case, including Mr. Thakkar, believed the

Property was property of the estate. In the contract approved by the Court, ND received an option

to repurchase the Property upon certain contingencies. Accent sent notice to ND of its right to

exercise the option pursuant to the contract (Case No. 15-58440 Doc. No. 904 p. 15), referencing

the contract and ND as the Seller who had the right to exercise the option. Title was taken in the

name of ND (Case No. 15-58440 Doc. No.904 p. 19). ND filed an adversary proceeding against

Westplan (Adv. Proc. No. 18-5193) asserting Westplan breached the sale contract by not obtaining

the zoning. No party contended the contract was not binding; to the contrary, both Westplan and

ND argued the contract governed their actions post-closing. After the repurchase of the Property,



                                                  27
Case 15-58443-wlh         Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37              Desc Main
                                    Document     Page 28 of 39



ND filed a Motion Requesting Entry of Order (1) Transferring or Assigning Real Property and

Authorizing Assumption of Debt Obligations, or Alternatively, (2) Authorizing Post-Petition

Financing Pursuant to Section 364 of the Bankruptcy Code Nunc Pro Tunc on November 8, 2018

(Case No. 15-58440 Doc. No. 904) in which it sought retroactive approval of the financing

transaction and authority to transfer the Property to Norcross Hospitality, explaining that it had

exercised the buyback option. The reason given for not seeking approval in advance was that

ND’s representatives were involved in a trial in Florida. At no time did the “Debtor” take the

position it was acting outside the bankruptcy case.

       The Trustee filed a motion to retain a broker to sell the Property (Case No. 15-58440 Doc.

No. 982)—no one contended the estate could not sell the Property. A motion to sell was filed on

May 20, 2019 (Case No. 15-58440 Doc. No. 1060). Equity holders Niloy and Rohan Thakkar

filed an objection on July 1, 2019 (Case No. 15-58440 Doc. No. 1123, amended at Case No. 15-

58440 Doc. No. 1170) stating that the Property “is the primary asset of Nilhan Developers” and

its sale was not necessary to pay the claims. The objection never alleged the Property was not

property of the estate, but rather sought an alternative solution to paying creditors than a sale by

auction. Mr. Thakkar individually, as manager of ND, filed an objection to the sale on July 26,

2019 (Case No. 15-58440 Doc. No. 1156), but, again, he never suggested the Property was not

property of the estate.

       After the Second Sale of the Property to Rass, Norcross Hospitality filed a motion for an

administrative expense claim (Case No. 15-58440 Doc. No. 1182) in which it alleged it was a

creditor “of the Estate of Nilhan Developers, LLC.” The motion states Norcross Hospitality

advanced over $5 million to ND “to enable Nilhan Developers to exercise a court-approved option

to retain certain real property which ultimately resulted in significant value for this Estate.”



                                                 28
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37              Desc Main
                                  Document     Page 29 of 39



        The Property was sold with retention of the buyback option, Accent notified ND of the

right to buy back the Property (Case No. 15-58440 Doc. No. 904), ND responded to the option by

paying the amount demanded in the time frame demanded, and title was taken in ND. Not only

did MMM review the pleadings in the case and talk to the parties, as evidenced by their fee

applications, but the Second Interim Fee Application reflects that MMM reviewed the deeds and

considered title issues (see time entries for June 17, 2019; July 1, 2019; July 22, 2019; and July

25, 2019), and talked to Calloway Title several times (see time entries for April 1, 2019; June 24,

2019; June 25, 2019; and July 24, 2019) (Case No. 15-58440 Doc. No. 1173-3). The Court

concludes that, based on the facts known to the Trustee at the time and the positions of the parties,

MMM’s and the Trustee’s actions to sell the Property were necessary, beneficial, and reasonable.

If it turns out that the position advocated in the current adversary proceeding that the Property was

not property of the estate is correct, the Court will make whatever judgments are called for at that

time.

        B.     Time Spent Investigating and Litigating the Norcross Hospitality Claim

        The “Debtor” contends MMM should not be compensated for the time it spent investigating

and litigating the Norcross Hospitality claim because MMM’s work was not for the benefit of the

estate because the Property was not property of the estate and Norcross Hospitality was not actually

a creditor of the estate but of the separate “Debtor.”

        As the Court stated above, everyone, including Norcross Hospitality, took the position the

Property was property of the estate. Norcross Hospitality alleged in its Motion for Administrative

Claim that it was a creditor “of the Estate of Nilhan Developers, LLC” and that its advance of

funds enabled ND to exercise “a court-approved option” for the Property which “ultimately

resulted in significant value for this Estate.” (Case No. 15-58440 Doc. No. 1182). It was therefore



                                                 29
Case 15-58443-wlh        Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37             Desc Main
                                   Document     Page 30 of 39



imminently reasonable for the Trustee to take action to analyze the claim against the estate and

take appropriate action. The Trustee responded to the motion and explained that resolving whether

the Norcross Hospitality claim was allowed, and in what manner and priority, had significant

ramifications for the estate and other creditors and to the structure of the Trustee’s plan. If the

Norcross Hospitality Claim was disallowed or subordinated to the claims of other creditors, all

creditors would be paid in full. If, instead, it was allowed, either as an administrative claim or

general unsecured claim sharing with other claimants, with or without interest, the creditors’

claims will not be paid in full.

       Moreover, Norcross Hospitality filed the motion. The Trustee responded. A trustee may

be compensated for responding to pleadings even if the response does not directly benefit the

estate. Macco Props., 540 B.R. at 868. Counsel’s legal research was helpful to the Court in

conducting its analysis and making its ultimate determination. The Court concludes that, based on

the facts known to the Trustee at the time and the positions of the parties, MMM’s and the Trustee’s

efforts responding to Norcross Hospitality were necessary, beneficial, and reasonable.

       C.      Time Spent on the Nilhan Financial Claim

       ND’s schedules reflected a debt to Nilhan Financial of $9.5 million. On September 4,

2019, Norcross Hospitality, Niloy, and Rohan Thakkar filed a Motion for Order: 1) Amending

Schedules; or 2) In the Alternative, Requiring the Trustee to Amend Schedules as Necessary to

Reflect Status of Certain Scheduled Claims as Disputed and Subject to Offset (Case No. 15-58440

Doc. No. 1200). They argued the schedules of all debtors, including ND, should be amended by

the Trustee to reflect different amounts due to Nilhan Financial. Norcross Hospitality and the

Thakkars contended the $9.5 million claim listed in ND’s schedules was just an allocation of the

Wells Fargo debt actually owed by Nilhan Financial to Wells Fargo, and not debt owed by ND to



                                                30
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37              Desc Main
                                  Document     Page 31 of 39



Nilhan Financial.   They contended the claim was subject to reduction through set-off or

recoupment or counterclaim, particularly for the amount ND paid on the Wells Fargo debt owed

by Nilhan Financial. The motion asked the court to order the Trustee to investigate the schedules

and amend them.

       After the mediation failed, Norcross Hospitality, Niloy, and Rohan Thakkar filed an

objection to the scheduled claims of Nilhan Financial in the ND and NRCT cases and an amended

motion requiring the Trustee to amend the schedules (Case No. 15-58440 Doc. No. 1269). The

Trustee filed a response in opposition (Case No. 15-58440 Doc. No. 1294), stating that he had

investigated the claims and found no amendments to the schedules were necessary or required.

The Nilhan Financial Trustee and Gateway also filed objections to the requested relief.

       The Court held a hearing on February 4, 2020 at which the Trustee, the Nilhan Financial

Trustee, and Gateway participated along with Chuck Thakkar, on behalf of the movants. The

Court requested subsequent briefing on certain legal issues. The Court entered an order on March

21, 2020 disallowing in part and allowing in part the scheduled claims of Nilhan Financial (Case

No. 15-58440 Doc. No. 1347). In a subsequent order on March 24, 2020 (Case No. 15-58440 Doc.

No. 1356), the Court ordered the Trustee to file a statement setting forth the amount ND paid to

Wells Fargo by virtue of the sale of real property so the Court could reduce the Nilhan Financial

claim accordingly. The Trustee did so on March 26, 2020, and the Nilhan Financial Trustee and

the moving parties responded. The Court entered a final order on April 3, 2020 (Case No. 15-

58440 Doc. No. 1365).

       While this litigation was proceeding, the Court had also instructed the Trustee to file a plan

in the case. Because the status of Nilhan Financial’s claim was uncertain, the Trustee filed a

motion to temporarily allow and estimate claims of Nilhan Financial for voting purposes (Case



                                                31
Case 15-58443-wlh       Doc 253     Filed 02/04/21 Entered 02/04/21 16:03:37               Desc Main
                                   Document     Page 32 of 39



No. 15-58440 Doc. No. 1321). The Court’s decision on Nilhan Financial’s claim mooted the

motion.

       In his objection to MMM’s Fifth Interim Fee Application, Mr. Thakkar argues that the time

spent by MMM “defending” the Nilhan Financial claims was excessive and unnecessary. In his

view, the Trustee had no stake in the outcome and should have relied on the Nilhan Financial

Trustee to do the work. While the Court withheld 10% of the fees awarded to MMM on its Fifth

Interim Fee Application on an interim basis, Mr. Thakkar did not object to the Sixth and Final Fee

Application and no one objected to these fees on a final basis on this ground. Mr. Thakkar’s

objection to the fee applications is therefore waived. See In re Stanton, 569 B.R. 840, 844 (Bankr.

M.D. Fla. 2017). Nevertheless, the Court has reviewed the entries related to this work as part of

its overall review of the application and finds the fees incurred to be necessary to the administration

of the estate. The Court notes the time allocated to this issue in the Fourth Interim Fee Application

is $42,155, and the time allocated to it in the Fifth Interim Fee Application is $7,332.75 for a total

of $49,487.75. Because Mr. Thakkar’s objection was not prosecuted, the Court does not have

specific entries under challenge, and “[g]eneral dissatisfaction or disagreement” is not sufficient

to support a claim objection. SGE Mortg. Funding Corp., 301 B.R. at 917.

       Norcross Hospitality and the Thakkars asked the Court to require the Trustee to investigate

and amend the schedules. The Trustee’s counsel spent time doing just that—investigating the

claim of Nilhan Financial. It was appropriate for the Trustee to respond to a motion directed to

him and to do factual and legal research to understand the issues raised and to respond. Macco

Props., 540 B.R. at 868 (“‘necessary and actual fees are allowable in situations where the fees are

unavoidably incurred,’ such as responding to events not subject to counsel’s control, ‘even if they

are not of a benefit to the estate.’” (quoting Ricci Inv. Co., 217 B.R. at 907)). It was also



                                                  32
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37             Desc Main
                                  Document     Page 33 of 39



appropriate for the Trustee to appear at the hearing on the claim objections and to brief the issues

raised by Norcross Hospitality and the Court. A trustee has the duty to investigate the liabilities

of a debtor (11 U.S.C. § 1106) and to examine claims (11 U.S.C. §§ 1106 & 704). The motion

requested action against the Trustee, so his counsel needed to appear. The Trustee’s participation

in the hearing was largely focused on the finality of the schedules, while the Nilhan Financial

Trustee focused on the accuracy of the numbers in the Nilhan Financial schedules. This is an

appropriate division of labor for this Trustee and his counsel. Finally, the Court asked the Trustee

to provide it with the precise amount paid to Wells Fargo so the court could adjust the Nilhan

Financial claim, so counsel’s time responding to the Court’s request is appropriate. Macco Props.,

540 B.R. at 868. The Court concludes the fees were reasonable and necessary and compensable.

       D.      Time Spent on Plan and Disclosure Statement

       The “Debtor” objects to the fees spent in connection with filing and confirming a Chapter

11 plan and now contends the case should have been converted to one under Chapter 7. Fees for

this task are spread over the Fourth and Fifth Interim Fee Applications and the Sixth and Final Fee

Application and total $61,858 according to the Court’s calculation.

       After the mediation concluded with no agreement, the Court scheduled a hearing to

consider Mr. Thakkar’s requests for dismissal of the ND case, which were filed in May and July

2019. At the January 16, 2020 hearing, the Court deferred consideration of the motions to dismiss

pending the resolution by the court of the Nilhan Financial claims, but the Court also requested

any plans be filed by February 18, 2020. Mr. Thakkar filed another motion to dismiss on April

20, 2020 (Case No. 15-58440 Doc. No. 1393), which was heard on April 30, 2020. Nilhan

Financial, Gateway, and the Trustee objected to dismissal of the case on the basis that provisions

needed to be made for resolution of the outstanding issues and payment of any resulting claims



                                                33
Case 15-58443-wlh      Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37             Desc Main
                                 Document     Page 34 of 39



(see Case No. 15-58440 Docs. Nos. 1160, 1167, 1168, 1280, 1283, 1284). The structured dismissal

proposed by Mr. Thakkar really was in the nature of a plan, with provisions for different

contingencies. Moreover, the structured dismissal proposal did not provide adequate safeguards

for creditors who were not being paid upon dismissal.

       The Trustee filed a plan in this case on February 18, 2020 (Case No. 15-58440 Doc. No.

1317). The Trustee subsequently amended the plan six times in response to objections by Mr.

Thakkar, Norcross Hospitality, and “equity” (Case No. 15-58440 Docs. Nos. 1373 & 1402 & Case

No. 15-58443 Docs. Nos. 184, 205, & 209) and comments by the Court. The Thakkars objected

to many aspects of the plan including how distributions would be made to Nilhan Financial and

Norcross Hospitality based on the outcome of pending appeals of the Court’s orders. The Thakkars

also objected to the Trustee paying taxes to the Georgia Department of Revenue based on an

alleged gain from the sale of the Property; they contended no taxes were due. As a result of the

objection, and the failure of the Thakkars to provide the Trustee all the information needed, the

Court ordered the Trustee to create a process in the plan for determining whether taxes were due.

Ultimately, the Court confirmed the plan, choosing confirmation over dismissal.

       The short answer as to why the case was not converted is that no one ever asked for it,

including Mr. Thakkar, Norcross Hospitality, and Niloy and Rohan Thakkar. The Court raised the

possibility of conversion at the hearing on January 16, 2020, which Mr. Thakkar attended as well

as representatives of the Trustee, Nilhan Financial, and Gateway. Given the complexities of the

distribution and Mr. Glass’ knowledge of the case and the disputes in it, the Trustee and the

creditors did not believe conversion offered any benefit to the estate. Mr. Thakkar only asked to

dismiss the case. Conversion to Chapter 7 would also have resulted in a Chapter 7 trustee

investigating causes of action of ND. See 11 U.S.C. § 704(a); In re Pearson Indus., Inc., 178 B.R.



                                               34
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37               Desc Main
                                  Document     Page 35 of 39



753, 761 (Bankr. C.D. Ill. 1995). The initial plan proposed by the Trustee proposed the same, but

Mr. Thakkar strenuously objected (Case No. Doc. No. 1317). It is likely he would not have wanted

a Chapter 7 trustee in place who could have further investigated his actions on behalf of the

company.

       The decision to file a plan, rather than convert the case, was a reasonable decision and

necessary for the administration of the estate. The Thakkars intended to appeal any and all

decisions regarding Nilhan Financial and Norcross Hospitality, but other creditors’ claims were

undisputed and could be paid. The plan provided for immediate payment of the undisputed

creditors and for the Trustee, as Plan Agent, to hold the remaining funds pending the outcome of

the appeals, with instructions on three different ways the funds could be distributed based on the

outcome of the appeals. This was not a straightforward simple case, as the “Debtor” contends, and

a plan was an appropriate way to address the situation. The cost of the plan was further increased

by the Thakkars’ objection to the Trustee paying taxes on what appeared to be a gain from the sale

of the Property. However, the Thakkars did not provide the Trustee with historic tax returns to

justify a different determination. The Trustee is obligated to pay tax liabilities incurred by the

bankruptcy estate (26 U.S.C.A. §§ 1398 and 1399; cf. Holywell Corp. v. Smith, 503 U.S. 47

(1992)), so the time spent on the issue was necessary for the administration of the estate. As with

virtually everything in this case, the litigiousness of the Thakkars increased the cost. Nevertheless,

the Court concludes the fees were reasonable and necessary to the administration of the estate.

       E.      Time Spent Preparing the Trustee’s and GlassRatner’s Fee Applications

       The “Debtor” objects to the time in the MMM fee application spent on the Trustee’s fee

application and the GlassRatner fee applications. It contends that MMM represents the estate and

therefore cannot prepare fee applications for the Trustee and his financial advisor. The Court



                                                 35
Case 15-58443-wlh        Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37                Desc Main
                                   Document     Page 36 of 39



agrees that MMM represents the Trustee as representative of the estate, but it disagrees that MMM

cannot recover reasonable fees for the preparation of the fee applications of the Trustee and

GlassRatner on the facts of this case. The Court notes section 330(a)(6) permits recovery of

reasonable fees for the preparation of fee applications. It does not specify to whom. The filing of

fee applications is necessary to the administration of the estate and is a service to the estate and its

administrator, the Trustee. Baker Botts, LLP v. ASARCO, LLC, 576 U.S. 121, 132 (2015); In re

Stanton, 559 B.R. 781, 784 (Bankr. M.D. Fla. 2016). As the Court in Stanton explained, the issue

is whether fees incurred in connection with a fee application “were incurred in service to the

estate.” Id. at 785. Moreover, the Trustee, as the estate’s representative, has a duty to review fee

applications and may use counsel to assist in that effort. In re Comput. Learning Ctrs., Inc., 285

B.R. 191, 234 (Bankr. E.D. Va. 2002).

       Ron Glass was appointed as trustee in this Chapter 11 case. Mr. Glass is an experienced

trustee and receiver, but he is not a “panel trustee.” Mr. Glass filed only one application for fees

(Case No. 15-58443 Doc. No. 235), and it is the application under consideration. Mr. Glass is not

a lawyer. In a routine Chapter 7 case, the Court would expect the trustee to file his own fee

application and not retain or use counsel for that purpose. See In re McConnell, 2021 WL 203331,

*29 n.90 (Bankr. N.D. Ga. Jan. 4, 2021). But this case is a Chapter 11 case, and it is anything but

routine. MMM prepared and filed the application for Mr. Glass. From the Court’s review of the

Fifth Interim Fee Application and Sixth and Final Fee Application, MMM spent $1,763.50 on his

fee application. Of this, $578.50 was specifically incurred in researching whether the Trustee

could obtain a commission on a credit bid. The remaining $1,184.50 was spent on general

preparation and filing of the fee application. The fee application has many standard provisions,




                                                  36
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37              Desc Main
                                  Document     Page 37 of 39



but it does contain a request for a commission on a credit bid, or a fee enhancement, and does not

contain any description of the time spent by the Trustee in the case.

       As discussed above, only fees incurred in service to the estate are recoverable. ASARCO,

LLC, 576 U.S. at 132; Stanton, 559 B.R. at 784. In In re Morreale, 2019 WL 3385163 (Bankr. D.

Colo. July 3, 2019), the court held that defending a fee application that requested a fee

enhancement was not in service to the estate. The Court held pursuing such a request was for the

benefit of the trustee himself and separate counsel was required. Id. at *13. The Court concludes

the time spent researching and advocating for a commission on the credit bid or for a fee

enhancement was not for the benefit of the estate, but rather for the benefit of the Trustee, and was

not necessary to the administration of the case. The Court concludes $375 is a reasonable fee for

assisting the Trustee in filing his fee application based upon the amount of time MMM spent

assisting GlassRatner in filing each of its applications. The remaining $1,388 incurred by MMM

in preparing the application for the Trustee is disallowed.

       GlassRatner was retained by the Trustee in this case as his financial advisor. GlassRatner

is a firm of accountants and financial professionals and not lawyers. GlassRatner does, however,

typically assist Mr. Glass when he is appointed trustee. As with a trustee, the Court would expect

a professional firm such as GlassRatner to prepare its own fee applications in a routine Chapter 7

case. Again, however, this is not such a case. Typically, the Court permits counsel for a trustee

to be compensated for assistance to other professionals of the trustee. But these fees are typically

“modest and assist all involved.” Comput. Learning Cntrs., 285 B.R. at 234. Such involvement

is usually more efficient for the estate. If new counsel for GlassRatner were retained to file

GlassRatner’s fee application, it likely would have charged much more being otherwise unfamiliar

with the case and would have been entitled to recover the sum under section 330(a)(6).



                                                 37
Case 15-58443-wlh         Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37            Desc Main
                                    Document     Page 38 of 39



GlassRatner prepared all its own bills and MMM only prepared the cover application. Here, the

total amount MMM billed for preparation of all six of GlassRatner’s fee applications is $2,186.53,

which averages to just $363 per application. This is a very modest sum and in keeping with the

Court’s expectation of the cost of performing services necessary to the administration of the estate.

The Court concludes MMM’s fees for preparing GR’s application are compensable. See id.

       F.         The Court’s Independent Review of Fees
       The Court has independently reviewed each fee application. Sarkis Investments Co., LLC,

2019 WL 9243005, at *10. As set out in the Court’s order in Sugarloaf, the general time entries

should have been divided differently and certain “general” entries were attributable only to certain

Debtors, including ND. MMM has corrected this problem in this final application, showing in

detail the reductions and additions in accordance with the Court’s Sugarloaf order. The net

reduction in their fee request is $3,456.09.

       The Court is very familiar with this case, having heard the matters since its inception. The

Court has reviewed MMM’s time records to determine if any particular entry was unreasonable or

unnecessary, or if any series of entries was unreasonable or unnecessary, in the context of the work

performed.       Marshall, 2010 WL 3959612, at *62. The Court is aware that the amount of fees

MMM seeks is significant. However, the work was necessary and was well done, and the amount

of fees reflects the challenging nature of the case and litigiousness of the Thakkars. After its

review, the Court finds no other changes that need to be made to the fee application, except as

stated herein.

IV.    CONCLUSION

       For the reasons stated above, the Court disallows $1,388 for fees incurred in connection

with filing the Trustee’s application for compensation. The Court allows MMM $82,720.16 for

fees withheld in the Fifth Interim Fee Application and fees sought in the Sixth and Final Fee

                                                 38
Case 15-58443-wlh       Doc 253    Filed 02/04/21 Entered 02/04/21 16:03:37     Desc Main
                                  Document     Page 39 of 39



Application. All fees previously awarded are approved on a final basis. So MMM is awarded a

total of $473,342.44.

                                      END OF ORDER




                                             39
